ee os
MUR UESINCHUERC ECM CU celta con it? ent

1 ee
United States Bankruptcy Court for the: pel

District of =

at
Case number (/f known}: Chapter you are filing under; wilis

ft
C2 Chapter 7 Te te

C] chapter 14 Fi,
Ct Ghapter 12 eS

Chapter 13

LY Check if this is an
amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 42122

The bankruptcy forms use you and Debior 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debfor 7 and

Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debfor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are fillng together, both are equally responsible for supplying correct

information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Co Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only In a Joint Case):
4. Your full name i
mber

Write the name thatis on your £ycF name First name
government-issued picture
identification (for example, ida ‘alddie name
your driver's license or name
passport). \ Kiko- Boy

. , Last name Last name
Bring your picture

idantificalion to your mesting
with the trustee,

Suffix (Sr., Jr, li, I Suffix (Sr, Jr, A HD

2. All other names you =
have used In the last 8 First name rst name
years

Middle name : Middie name
Include your married or

maiden names and any
Last name

assumed, trade names and Last name

doing business as names.

First name First name
Do NOT list the name of any :
separate legal entity such as - al
a corporation, partnership, or — Middie name Middle name
LLC that is nat filing this
petition. Last name Last name

Business name (if applicable)

Business name {if applicable}

Businass name (if appiicable)

Business name (if appticable)

3. Only the last 4 digits of

we -x-O 4 2 8

your Social Security XXX XX —

number or federal OR OR

Individual Taxpayer

Identification number 9 xx — xx = . Oxx = xx -

ew AVTIN) sans . aces
Official Form 164 Voluntary Petition for Individuals Filing for Bankruptcy page 1

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Dabtor 1 , i

Firkt Name Middle Name

* Last Name

Wa lka Pay

Case number (known)

4. Your Employer
Identification Number
(EIN), if any.

About Debtor 1:

29 O45 95.90.

About Debtor 2 (Spouse Only in a Jolnt Case):

EIN”

EN

5. Where you live

If Debtor 2 lives at a different addrass:

904 Village ed

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any nolices to you at this mailing address.

Number Steet Number Street
TDollos. Pa lure
Gity “State ZIP Code Clty State ZIP Code
Luzerne
County County

if Debter 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address,

this district te file for
bankruptcy

Check one:

dove the last 180 days before filing this petition,
| have fived in this district fonger than in any
other district.

() i have ancther reason. Explain.
(See 28 U.S.C. § 1408.)

Number Street Number Street

P.O, Box P.O. Box

City Stale ZIP Code Clty Stale ZIP Code
6. Why you are choosing Cheek one:

©] Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

() | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Official Form 104

Vojuntary Petition for Individuals Filing for Bankruptcy page 2

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Debtor 4 Aw ber

Case number (itsnowe

First Nama

Middia Name

Last Name

Va {ko “Ry

ae Tell the Court About Your Bankruptcy Case

Official Form 104

7. The chapter of the Check one. {For a brief description of each, see Nofice Required by 17 U.S.C, § 342(b) for individuals Filing
Bankruptcy Code you for Bankrupicy (Form 2010}). Also, go to the top of page 1 and check the appropriate box.
are choosing to file
under CJ Chapter 7
Q] Chapter 11
CO} Chapter 12
td chapter 13
8, How you will pay the fee 1 | will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.
Tneed to pay the fee in installments. If you choose this option, sign and atlach the
Application for individuals to Pay The Filing Fee in installments (Official Form 103A).
LJ) trequest that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your Income is
lass than 150% of the official poverty line that applies te your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the Appiication to Have the
Chapter 7 Filing Fee Waived (Official Form 103B} and file it with your petition,
9, Have you filed for A No
bankruptcy within the
last 8 years? L} Yes. District When Case number
MM /f DDI YYYY
District When Casa number
MM / DDT YYYY
District Wien Case number
MM/ DDI YYYY
40, Are any bankruptcy A No
cases pending or being
filled by a spouse who Is QO Yes. Debtor Relationship fo you
not filing this case with District When Case number, if known
you, or by a business . MM/BD PYYYY
partner, or by an
affiliate?
Debtor Relationship io you
District When Casa number, If known,
MM /DD/YYYY
14. Do you rent your d vo Go to line 12.
residence? LE Yes. Has your landiord obtained an eviction judgment against you?

(2 No, Go to line 12,

C2 Yes. Fill out initia’ Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3

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Debtor 1

\Wa| ko~ Ray Case number (it known)

“ First Nama Middla Nama

* Last Name

ar Report About Any Businesses You Own as a Sole Proprietor

of any full- or part-time
business?

Asole proprietorship Is a
business you operate as an
individual, and is not a
separate jegal entity such as

LLC.

If you have more than one
sole proprietership, use a
separate sheet and attach It
to this petition,

a corporation, parinership, or

42. Are you a sole proprietor bh No. Go to Part 4.

Yes. Name and location of business

Name of business, if any

Number Street

City Stale ZiP Code

Check the appropriate box to describe your business:

CL) Health Care Business (as defined in 11 U.S.C, § 101(27A))
C] Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C] Stockbroker fas defined in 11 U.S.C. § 1041(53A))

Cy Commodity Broker (as defined In 14 U.S.C. § 104(6))}

L) None of the above

13, Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a small business
debtor or a debtor as
defined by 11U.8.C.§
1182(1)?

For a definition of smaif
business debfor, see
14 U.S.C. § 101{51D}.

Offtclal Form 104

if you are filing under Chapter 11, the court must Know whether you are a small business debtor or a debtor
choosing fo proceed under Subchapter V so that if can set appropriate deadlines. Mf you indicate that you
are a small business debtor or you are choosing to preceed under Subchapter V, you must attach your
most recent balance sheet, statement cf operations, cash-flow statement, and federal income tax return or
if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116{1}(B).

No. | am not filing under Chapter 11.
C) No. Iam filing under Chapter 11, but i am NOT a small business debtor according to the definition in
the Bankruptcy Code.
Ci Yes. | am filing under Chapter 11, 1 am a small business debtor according to the definition in the Bankruptoy
Code, and | do not choose to proceed under Subchapter V of Chapter 11.
(Q Yes. | am filing under Chapter 11, 1 am a debtor according to the definition In § 1182(1} of the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapter 11.

Voluntary Petitlon for Individuals Fillng for Bankruptcy page 4

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Deabior 1 Amber wall S Rosy Case number (if known),

First Name Middle Nama Last Name 4

Ca Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

44, Do you own or have any Z No
property that poses or is
alleged to pose a threat CL} Yes. What Is the hazard?

of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs if immediate altention is needed, why is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

Number Street
City Siale ZIP Code
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 5

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|p JO.| Ko Pours

Debior 4 q uty ei
First Nama Migdie Name

a Explain Your Efforts to Receive a Briefing About Credit Counseling

ye Css Name |

Case number (# known),

45. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptey. You must
truthfully check one of the
following cholces. Hf you
cannot do so, you are not
eligible to file.

Hf you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Officlal Form 104

About Debtor 1:

You must chack one:

L) f received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Altach a copy of the certificate and the payment
pian, if any, that you developed with the agency.

A | received a briefing from an appreved credit

counseling agency within the 480 days before |
filed this bankruptcy petition, but] do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any,

(C) | certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, altach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain il before you filed for
bankruptcy, and what exigent circumstances
required you ic file this case.

Your case may be dismissed if the court is
dissatisfled with your reasons for not receiving a
briefing before you filed for bankrupicy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file,
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline [s granted
only for cause and is limited to a maximum of 15
days.

Ch tam not required to receive a briefing about

credit counseling because of:

C) incapacity. | have a menial illness or a mental
deficiency that makes me
Incapable of realizing or making
ralional decisions about finances.

L) Disability. My physical disability causes me
to be unabie to participate ina
briefing in person, by phone, or
through the internet, even after §
reasonably tried to do so.

LJ Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

About Dabtor 2 (Spouse Only in a Joint Case}:

You musi check one:

C) | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C] | received a briefing from an approved credit

counseling agency within the 180 days before [
filed this bankruptcy petition, but | do not have a |
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment |
plan, if any. :

C) | certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigant
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and whal exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing wilhin 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your casa
may be dismissed.

Any extension cf the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

LJ bam not required to receive a briefing about

credit counseling because of:

C) Incapacity. [have a mental jiiness or a mental
deficiency thai makes me :
Incapable of realizing or making
rational dacislons about finances.

C2 Disability. My physical disability causes me
to be unable to participate In a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

LI Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court. ;

Voluntary Petition for Individuals Filing for Bankruptcy page 6

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Debior 4 Dowleer Whyko-Rax4 Case aumber Gt caawn)

Ndma Middle Nama \ Last Name

a Answer These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8}
as “incurred by an individual primarily for a personal, family, or household purpose.”
CI No. Go to line 16b.
Yes. Go to line 17.

iéb. Are your debts primarily business debts? Business debis are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

LI No. Go to line #6c.
(3 Yes, Go to line 17.

46. What kind of debts do
you have?

16c, State the type of debts you owe that are not consumer debts or business debts,

17. Are you filing under ow
Chapter 7? No. fam not filing under Chapter 7, Go te line 18.
Do you estimate that after LJ Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and TO) Ne
administrative expenses
are paid that funds will be UC] Yes

available for distribution
to unsecured creditors?

48, How many creditors do A iso i 1,000-5,000 J] 25,001-50,000
you estimate that you ) 50-99 1) 5,001-10,000 2) 50,001-100,000
owe? Q 100-199 1 10,001-26,000 C) More than 400,006

Q) 200-989 .

49, How much do you db so. $50,000 CJ $4,000,001-$10 million C3 $500,000,001-$1 billlon
estimate your assets to = L} $50,004-100,000 LE $40,000,001-$50 million C2 $4,000,000,001-$10 billion
be worth? () $100,001-$500,000 (2 $60,000,001-$100 million C $10,000,000,001-$50 billion

LJ $500,004-$4 million CY $400,000,601-$500 million L] More than $50 billion

20. How much do you CJ $0-350,000 CJ $1,000,004-$40 million LJ $500,000,001-$1 billion
estimate your liabilities | (J) $50,001-$100,000 €) $10,000,001-$50 milfion CJ $1,000,000,001-$10 billion
ta be? ZF $100,001-$500,000 L} $50,000,001-$100 million CJ $10,000,000,004-$50 billion

C} $500,001-$4 million C} $1490,000,001-$500 million C1 More than $50 billion

Sign Below
| have examined this petition, and | declare under penalty of perjury that the Information provided is true and
For you correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of tille 11, United States Code, | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who Is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C, § 342(b).

| request rellef in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptey case can resull in fines up to $260,000, or imprisonment for up to 20 years, or both.
48 U.S.C. §§ 152, 1341, 1519, and 3571.

% (Ryal) Ud Meo Rare x

Signature of Debior 1 Signature of Debtor 2
Executed on Go BD Ae Executed on
MM

i DD EY MM DD yyy

Official Form 7101 Voluntary Petition for Individuals Filing for Bankruptcy page 7

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Debtor 1 Aner

D-fby
\aod KD Y Case number (i known}

First Nama Middie Nema

For your attorney, if you are
represented by one

If you are not represented
by an attorney, you do not
need to file this page.

Las! Name |

I, the attorney for the debtor(s) named in this petition, declare that | have informed the dabtor(s) about eligibility
to proceed under Chapter 7, 11, 42, or 13 of title 11, United States Code, and have explained the relief
available under each chapter fer which the person is eligibie, | also cerlify that | have delivered to the debtor{s)
the notice required by 11 U.S.C, § 342(b) and, in a case in which § 707(b)(4)(D) appiles, cerlify that | have no
knowledge after an inquiry that the informaticn in the schedules filed with the petition is incorrect,

x Date

Signature of Attornay for Deblor MM / DD /YYYY

Printed name

Firm name

Number Street

City Stale ZIP Cede
Conlact phone Email address
Bar number Stale

Official Form 101

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Debtor 4 dmpuc

\Walko- Roxy

Case number of sown),

FirstName Middle Name

For you if you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

Official Form 101

Last Ql

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully, Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankrupicy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on lime, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court, Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged, If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will net treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws thai apply.

Are you aware that fillng for bankruptcy is a sericus action with fong-term financial and legal
consequences?

CY No

Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

QO Ne

a Yes

Did, you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
| No
LJ Yes. Name of Person
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, i acknowledge that | understand the risks Involved in filing without an attorney, |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

x hinlson WoL be- Pur. x

Signature of Debtor 4

Date Ole JH 2oa4 Date
Coniact phone S70- TOWw- od]

Signature of Debtor 2

MM/ BD IYYYY

Contact phone

Call phone S710 “TOW Wot} Gell phone

Emall address Que, Walkoroy? ama + Email address

Voluntary Petition for Individuals Filing for Bankruptcy page 9

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